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                                   4                                                   UNITED STATES DISTRICT COURT

                                   5                                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    IN RE: CATHODE RAY TUBE (CRT)                                                     MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                                                      Case No. C-07-5944 JST

                                   9                                                                                      ORDER ON DEFENDANTS’ MOTIONS
                                        This Order Relates To:                                                            FOR SUMMARY JUDGEMENT
                                  10                                                                                      RELATING TO WITHDRAWAL AND
                                        ALL ACTIONS                                                                       THE STATUTE OF LIMITATIONS
                                  11

                                  12
Northern District of California
 United States District Court




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                                              5.     Motion for Partial Summary Judgment Against Dell and Sharp Plaintiffs on Statute of
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                                   4
                                       I.          INTRODUCTION
                                   5
                                                   Now before the Court are various motions for summary judgment against certain Direct
                                   6
                                       Action Plaintiffs (“DAPs”) on issues related to withdrawal and the statute of limitations. Oral
                                   7
                                       argument was held on February 9, 2016. The Court has consolidated its rulings into a single order
                                   8
                                       and finds as follows:
                                   9
                                                         Name of Motion                                   Motion              Opp’n             Reply                 Ruling
                                  10
                                                                                                          ECF No.            ECF No.           ECF No.
                                  11
                                       Hitachi Defendants’ Motion for Summary                               2972               3268             3433-6 Granted in
                                  12   Judgment Based Upon Withdrawal and                                 (“Hitachi          (“Hitachi         (“Hitachi part, denied in
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                                                                                                           Mot.”)                               Reply”) part
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                                       the Statute of Limitations                                                             Opp’n”)
                                  13
                                       Toshiba Defendants’ Motion for Summary                               2995              3280               3437           Denied
                                  14   Judgment Concerning Withdrawal                                     (“Toshiba         (“Toshiba          (“Toshib
                                  15                                                                        Mot.”)           Opp’n”)               a
                                                                                                                                                Reply”)
                                  16
                                       Defendant LG Electronics, Inc.’s Motion                               3086            3262-4             3441-3          Denied
                                  17   for Partial Summary Judgment on                                      (“LGE            (“LGE              (“LGE
                                       Withdrawal Grounds                                                   Mot.”)           Opp’n”)            Reply”)
                                  18
                                       Philips Electronics North America                                    3027               3241              3461    Granted
                                  19
                                       Corporation, Philips Taiwan Ltd., and                              (“Philips          (“Philips         (“Philips
                                  20   Philips Brasil Ltda.’s Motion for Partial                           Mot.”)            Opp’n”)            Reply”)
                                       Summary Judgment
                                  21
                                       Motion for Partial Summary Judgment                                   3044              3231              3472           Denied
                                  22   Against Dell and Sharp Plaintiffs on                                 (“Dell/           (“Dell            (“Dell/
                                       Statute of Limitations Grounds                                        Sharp           Opp’n”);            Sharp
                                  23
                                                                                                            Mot.”)            3284-4            Reply”)
                                  24                                                                                         (“Sharp
                                                                                                                             Opp’n”)
                                  25

                                  26   II.         FACTS
                                  27               The history of this case is well known to parties. By way of summation, this case is
                                  28   predicated upon an alleged conspiracy to price-fix cathode ray tubes (“CRTs”), a core component
                                                                                                               2
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                                   1   of tube-style screens for common devices including televisions and computer monitors. This

                                   2   conspiracy ran from March 1, 1995 to November 25, 2007 (the “Conspiracy Period”), involved

                                   3   many of the major companies that produced CRTs, and allegedly resulted in overcharges of

                                   4   billions of U.S. dollars to domestic companies that purchased and sold CRTs or products

                                   5   containing CRTs (“CRT Finished Products”) for purposes such as personal use. A civil suit was

                                   6   originally filed in 2007, ECF No. 1, consolidated by the Joint Panel on Multidistrict Litigation

                                   7   shortly thereafter, see ECF No. 122, assigned as a Multidistrict Litigation case (“MDL”) to Judge

                                   8   Samuel Conti, see id., and ultimately transferred to the undersigned, see ECF No. 4162.

                                   9          In addition to two class actions, this MDL involves various direct actions from individual

                                  10   plaintiffs who have opted out of the class actions, including the DAPs opposing the instant

                                  11   motions. Each DAP alleges that it bought at least one CRT Finished Product from a Defendant or

                                  12   an entity owned or controlled by a Defendant. The DAPs, despite their label, are classified as
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                                  13   indirect purchasers under antitrust law, not direct purchasers.

                                  14   III.   LEGAL STANDARD
                                  15          Summary judgment is proper when a “movant shows that there is no genuine dispute as to

                                  16   any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);

                                  17   accord Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). “A party asserting that a fact

                                  18   cannot be or is genuinely disputed must support the assertion by” citing to depositions, documents,

                                  19   affidavits, or other materials. Fed. R. Civ. P. 56(c)(1)(A). A party also may show that such

                                  20   materials “do not establish the absence or presence of a genuine dispute, or that an adverse party

                                  21   cannot produce admissible evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(B). An issue is

                                  22   “genuine” only if there is sufficient evidence for a reasonable fact-finder to find for the non-

                                  23   moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-49 (1986). A fact is

                                  24   “material” if the fact may affect the outcome of the case. Id. at 248. “In considering a motion for

                                  25   summary judgment, the court may not weigh the evidence or make credibility determinations, and

                                  26   is required to draw all inferences in a light most favorable to the non-moving party.” Freeman v.

                                  27   Arpaio, 125 F.3d 732, 735 (9th Cir. 1997). However, unsupported conjecture or conclusory

                                  28   statements do not create a genuine dispute as to material fact and will not defeat summary
                                                                                         3
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                                   1   judgment. Surrell v. Cal. Water Serv. Co., 518 F.3d 1097, 1103 (9th Cir. 2008).

                                   2          For claims on which the defendant does not carry the ultimate burden of persuasion,

                                   3   defendant as the moving party has the burden of producing evidence that negates an essential

                                   4   element of each claim on which it seeks judgment or showing that the plaintiff cannot produce

                                   5   evidence sufficient to satisfy the burden of proof at trial. See Nissan Fire & Marine Ins. Co. v.

                                   6   Fritz Cos., 210 F.3d 1099, 1102 (9th Cir. 2000). If the moving party satisfies its initial burden of

                                   7   production, then the nonmoving party must produce admissible evidence to show that a genuine

                                   8   issue of material fact exists. Id. at 1102-1103. The non-moving party must “identify with

                                   9   reasonable particularity the evidence that precludes summary judgment.” Keenan v. Allan, 91

                                  10   F.3d 1275, 1279 (9th Cir. 1996). “Specific citations, not bulk references, are essential to pinpoint

                                  11   key facts and factual disputes. [A] district court [i]s not required to put the puzzle together from a

                                  12   boxful of facts, and . . . may permissibly decide the motion without mining [an] entire document
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                                  13   for more substantiation” when a citation offers only a “breezy reference” to a part of an “82-page

                                  14   report” not otherwise cited or explained in briefing. Stanislaus Food Products Co. v. USS-POSCO

                                  15   Indus., 803 F.3d 1084, 1094-95 (9th Cir. Oct. 13, 2015). “A mere scintilla of evidence will not be

                                  16   sufficient to defeat a properly supported motion for summary judgment; rather, the nonmoving

                                  17   party must introduce some significant probative evidence tending to support the complaint.”

                                  18   Summers v. Teichert & Son, Inc., 127 F.3d 1150, 1152 (9th Cir. 1997) (citation omitted). If the

                                  19   non-moving party fails to make this showing, the moving party is entitled to judgment as a matter

                                  20   of law. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

                                  21   IV.    DISCUSSION
                                  22          A.      Substantive Legal Standards
                                  23                  1.      Withdrawal
                                  24          Once a corporation has joined a price-fixing conspiracy, it is jointly and severally liable for

                                  25   any actions taken in furtherance of the conspiracy until the objectives of the conspiracy are

                                  26   completed or the defendant withdraws. See Krause v. Perryman, 827 F.2d 346, 350-51 (8th Cir.

                                  27   1987) (affirming summary judgment for defendant because he had “withdrawn from the alleged

                                  28   conspiracy prior to the events that resulted in [the plaintiffs’] alleged injuries”); In re Brand Name
                                                                                         4
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                                   1   Prescription Drugs Antitrust Litig., 123 F.3d 599, 616 (7th Cir. 1997); In re Potash Antitrust

                                   2   Litig., 954 F. Supp. 1334, 1339, 1390–91 (D. Minn.1997) (granting summary judgment to antitrust

                                   3   defendant who withdrew from conspiracy), aff’d sub nom Blomkest Fertilizer, Inc. v. Potash

                                   4   Corp. of Saskatchewan, 203 F.3d 1028 (8th Cir. 2000); see also United States v. Lothian, 976 F.2d

                                   5   1257, 1262 (9th Cir. 1992) (“[A] defendant cannot be held liable for substantive offenses

                                   6   committed before joining or after withdrawing from a conspiracy.”). Because it is an affirmative

                                   7   defense, the burden of proving withdrawal lies with the defendant. See United States v. Brown,

                                   8   332 F.3d 363, 374 (6th Cir. 2003).

                                   9          At a minimum, “[a]ffirmative acts inconsistent with the object of the conspiracy and

                                  10   communicated in a manner reasonably calculated to reach co-conspirators [are] sufficient to

                                  11   establish withdrawal or abandonment.” United States v. U.S. Gypsum Co., 438 U.S. 422, 464–65

                                  12   (1978); see also Lothian, 976 F.2d at 1261 (9th Cir. 1992) (quoting United States v. Loya, 807
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                                  13   F.2d 1483, 1493 (9th Cir.1987)) (“To withdraw from a conspiracy a defendant must either

                                  14   disavow the unlawful goal of the conspiracy, affirmatively act to defeat the purpose of the

                                  15   conspiracy, or take ‘definite, decisive, and positive steps to show that the [defendant’s]

                                  16   disassociation from the conspiracy is sufficient.’”).

                                  17          There is no set list of affirmative acts sufficient to establish withdrawal. See United States

                                  18   v. Antar, 53 F.3d 568, 582 (3d Cir. 1995) (“Of course, there is no single way withdrawal can be

                                  19   established; in large part whether a particular action constitutes withdrawal depends on context.”),

                                  20   overruled on other grounds, Smith v. Berg, 247 F.3d 532, 534 (3d Cir. 2001); Virginia v.

                                  21   McKesson Corp., No. C 11-02782 SI, 2013 WL 1287423, at *3 (N.D. Cal. Mar. 28, 2013) (“A

                                  22   defendant can establish withdrawal from a conspiracy in various ways.”). Although mere

                                  23   inactivity or passive nonparticipation is not proof of withdrawal, see Smith v. United States, 133

                                  24   S. Ct. 714, 720 (2013), courts have been willing to grant summary judgment where the defendant:

                                  25   (1) severed all ties to the conspiracy; (2) severed all ties with the business through which it

                                  26   participated in the conspiracy; and (3) either communicated its withdrawal in a manner reasonably

                                  27   calculated to give notice co-conspirators or took affirmative acts inconsistent with the object of the

                                  28   conspiracy. See Morton’s Mkt., Inc. v. Gustafson’s Dairy, Inc., 198 F.3d 823, 839 (11th Cir.
                                                                                          5
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                                   1   1999) amended in part, 211 F.3d 1224 (11th Cir. 2000); United States v. Steele, 685 F.2d 793, 804

                                   2   (3d Cir. 1982); Krause v. Perryman, 827 F.2d 346, 351 (8th Cir. 1987); cf. Antar, 53 F.3d at 583

                                   3   (resignation from a corporation insufficient to establish withdrawal because defendant retained

                                   4   stock in the corporation); Reisman v. United States, 409 F.2d 789, 793 (9th Cir. 1969) (“Although

                                   5   appellant Reisman resigned . . . and ceased to participate in the company’s day-to-day business

                                   6   operations, he remained a major stockholder and took no affirmative action to disavow or defeat

                                   7   the promotional activities which he had joined in setting in motion.”); United States v. Lothian,

                                   8   976 F.2d 1257, 1264 (9th Cir. 1992) (holding that “[t]he defendant in Reisman had not taken

                                   9   ‘definite, decisive, and positive steps’ to disassociate himself from the scheme because he

                                  10   remained a major stockholder”).

                                  11          Finally, even if a defendant severs its ties with an enterprise that is participating in a

                                  12   conspiracy, that defendant cannot assert a withdrawal defense if after withdrawing it engages in
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                                  13   additional conduct in furtherance of the conspiracy, see United States v. Lowell, 649 F.2d 950,

                                  14   958 (3d Cir. 1981); United States v. Bullis, 77 F.3d 1553, 1561-63 (7th Cir. 1996), or if it

                                  15   continues to receive benefits from the conspiracy, see, e.g., United States v. Eisen, 974 F.2d 246,

                                  16   269 (2d Cir. 1992) (the defendant’s resignation from the conspiring law firm was not sufficient to

                                  17   constitute a withdrawal because he “‘continued to be entitled to a percentage of the recovery on all

                                  18   cases he tried including those giving rise to his pre-[resignation] racketeering acts.’”).

                                  19                  2.      Statute of Limitations and Fraudulent Concealment
                                  20          The Sherman and Clayton Acts provide for a four-year statute of limitations. 15 U.S.C.

                                  21   § 15b. An antitrust “cause of action accrues and the statute [of limitations] begins to run when a

                                  22   defendant commits an act that injures the plaintiffs’ business.” Zenith Radio Corp. v. Hazeltine

                                  23   Research, Inc., 401 U.S. 321, 338 (1971). As the Supreme Court has explained, however,

                                  24                  [a]ntitrust law provides that, in the case of a “continuing violation,”
                                                      say, a price–fixing conspiracy that brings about a series of
                                  25                  unlawfully high priced sales over a period of years, “each overt act
                                                      that is part of the violation and that injures the plaintiff,” e.g., each
                                  26                  sale to the plaintiff, “starts the statutory period running again,
                                                      regardless of the plaintiff’s knowledge of the alleged illegality at
                                  27                  much earlier times.” But the commission of a separate new overt act
                                                      generally does not permit the plaintiff to recover for the injury
                                  28                  caused by old overt acts outside the limitations period.
                                                                                          6
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                                   1   Klehr v. A.O. Smith Corp., 521 U.S. 179, 189 (1997).

                                   2          The statute of limitations is tolled, however, if the plaintiff can prove the defendant

                                   3   fraudulently concealed the existence of the conspiracy. E.W. French & Sons, Inc. v. Gen.

                                   4   Portland, Inc., 885 F.2d 1392, 1399 (9th Cir. 1989). To toll the statute of limitations under a

                                   5   theory of fraudulent concealment, a plaintiff “must do more than show that it was ignorant of its

                                   6   cause of action. It must prove that [the defendant] ‘fraudulently concealed the existence of the

                                   7   cause of action so that [the plaintiff], acting as a reasonable person, did not know of its

                                   8   existence.’” Conmar Corp. v. Mitsui & Co. (U.S.A.), 858 F.2d 499, 502 (9th Cir. 1988) (quoting

                                   9   Hennegan v. Pacifico Creative Service, Inc., 787 F.2d 1299, 1302 (9th Cir. 1986)). It follows that

                                  10   a court should grant a defendant’s motion for summary judgment on fraudulent concealment if and

                                  11   only if (1) the plaintiff fails to submit evidence of an affirmative act of concealment, see Stutz

                                  12   Motor Car of Am., Inc. v. Reebok Int’l, Ltd., 909 F. Supp. 1353, 1363 (C.D. Cal. 1995); or (2)
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                                  13   “the uncontroverted evidence irrefutably demonstrates” that the plaintiff had actual or constructive

                                  14   knowledge of the facts underlying its claim. Conmar, 858 F.2d at 502.

                                  15                          a.      Affirmative Acts of Concealment
                                  16          “A plaintiff alleging fraudulent concealment must establish that its failure to have notice of

                                  17   its claim was the result of affirmative conduct by the defendant.” Conmar, 858 F.2d at 505.

                                  18   Although the affirmative acts can be integral to the underlying conspiracy itself, see In re

                                  19   Animation Workers Antitrust Litig., No. 14-CV-04062-LHK, 2015 WL 4974343, at *16 (N.D.

                                  20   Cal. Aug. 20, 2015) (citing id. at 499-501), passive concealment is not enough, Volk v. D.A.

                                  21   Davidson & Co., 816 F.2d 1406, 1416 (9th Cir. 1987) (“[A]ppellees passively concealed the

                                  22   reports by not disclosing them to the investors. In such situations, the federal tolling doctrine does

                                  23   not apply.”). “[T]he line between active and passive concealment,” however, “is very fine

                                  24   indeed.” Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 320e (4th ed. 2013).

                                  25          Affirmative acts to conceal can include the following: using plain envelopes without return

                                  26   addresses, Kan. City v. Fed. Pac. Elec. Co., 310 F.2d 271, 284 n.2 (8th Cir. 1962); using public

                                  27   pay telephones, id.; contacting company representatives at their residences rather than at their

                                  28   offices, id.; destroying records, id.; communicating in code, id.; circulating the “rules” of the
                                                                                          7
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                                   1   conspiracy, In re Milk Products Antitrust Litig., 84 F. Supp. 2d 1016, 1023 (D. Minn. 1997), aff’d,

                                   2   195 F.3d 430 (8th Cir. 1999) (citing In re Wirebound Boxes Antitrust Litig., 128 F.R.D. 262, 266

                                   3   (D. Minn. 1989)); avoiding the use of telephones, id.; marking conspiracy-related correspondence

                                   4   “personal and confidential,” id.; engaging in certain actions to create the illusion of active

                                   5   competition, id.; and meeting secretly regarding the conspiracy while falsely representing that the

                                   6   meetings were legitimate trade association meetings, id..

                                   7          Courts differ somewhat as to whether secret meetings on their own constitute affirmative

                                   8   actions. Compare Ingram Corp. v. J. Ray McDermott & Co., 1980 WL 1819, at *4 (E.D. La.

                                   9   1980) (holding that clandestine meetings in hotel rooms were not affirmative actions) and In re

                                  10   Milk Products, 84 F. Supp. 2d at 1023 (same), with Pinney Dock & Transp. Co. v. Penn Cent.

                                  11   Corp., 838 F.2d 1445, 1474 (6th Cir. 1988) (holding that leaving price-fixing meetings off of a

                                  12   trade association meeting agenda in violation of other regulations was an affirmative act). In an
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                                  13   order on Defendants’ motion to dismiss, however, Judge Conti, the undersigned’s predecessor in

                                  14   this case, held that a pattern of secret meetings among alleged coconspirators was enough to

                                  15   establish fraudulent concealment. See In re Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-

                                  16   5944-SC, 2014 WL 1091589, at *9 (N.D. Cal. Mar. 13, 2014).

                                  17                          b.      Actual or Constructive Knowledge
                                  18          A plaintiff’s lack of knowledge of its claim is essential to establish fraudulent

                                  19   concealment. Once the plaintiff has knowledge or constructive knowledge of all the operative

                                  20   facts underlying its claim, the statute begins to run, even the plaintiff does not believe the

                                  21   information it received or is not convinced of the defendant’s culpability. Stegeman v. Aetna Ins.

                                  22   Co., 1980 U.S. Dist. LEXIS 10754, at *16 (E.D. Mich. 1980); Philco Corp. v. RCA, 186 F. Supp.

                                  23   155, 165-66 (E.D. Pa. 1960).

                                  24            A plaintiff has constructive knowledge if it has “enough information to warrant an

                                  25   investigation which, if reasonably diligent, would [lead] to the discovery” of the facts underlying

                                  26   its claims. Hexcel Corp. v. Ineos Polymers, Inc., 681 F.3d 1055, 1060 (9th Cir. 2012) (quoting

                                  27   Beneficial Standard Life Ins., Co. v. Madariaga, 851 F.2d 271, 275 (9th Cir. 1988)). A majority of

                                  28   circuits have held that the issue of when a plaintiff has constructive knowledge of his claim is
                                                                                          8
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                                   1   normally a question of fact for the jury. Lundy v. Union Carbide Corp., 695 F.2d 394 (9th Cir.

                                   2   1982); Morton’s Mkt, 198 F.3d at 832 (citing Ballew v. A.H. Robins Co., 688 F.2d 1325 (11th

                                   3   Cir. 1982); Maughan v. SW Servicing, Inc., 758 F.2d 1381, 1387 (10th Cir. 1985); Renfroe v. Eli

                                   4   Lilly & Co., 686 F.2d 642 (8th Cir. 1982)). Nevertheless, courts will grant summary judgment

                                   5   based on a plaintiff’s constructive knowledge where (1) the plaintiff is aware of facts1 such that its

                                   6   “suspicions have been or should have been excited,”2 Conmar, 858 F.2d at 504; and (2) the

                                   7   plaintiff would have discovered the facts underlying its claims if it had been reasonably diligent in

                                   8   investigating those suspicions,3 id.; see also, e.g., Volk v. D.A. Davidson & Co., 816 F.2d 1406,

                                   9   1417 (9th Cir. 1987) (finding investors had constructive knowledge because they received an

                                  10   annual report and a letter that made it clear they had paid more for their investment than it was

                                  11   worth); Rutledge v. Boston Woven Hose & Rubber Co., 576 F.2d 248, 249-50 (9th Cir. 1978)

                                  12   (finding constructive knowledge where the plaintiff had litigated similar issues in an earlier case
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                                  13   and had expressed suspicions about the defendants’ wrongdoing); Hexcel Corp. v. Ineos Polymers,

                                  14   Inc., 681 F.3d 1055, 1062-63 (9th Cir. 2012) (finding constructive knowledge where the plaintiff

                                  15   authored a report detailing its involvement in a related federal price-fixing investigation).4

                                  16

                                  17   1
                                        Mere suspicion is not enough. See Mt. Hood Stages, Inc. v. Greyhound Corp., 555 F.2d 687,
                                       698 (9th Cir. 1977) vacated on other grounds, 437 U.S. 322 (1978) (quoting Friedman v. Meyers,
                                  18
                                       482 F.2d 435, 439 (2d Cir. 1973) (“The record shows that Mt. Hood suspected Greyhound of
                                  19   unlawful conduct prior to December 14, 1960, but ‘(s)uspicion will not substitute for knowledge
                                       of facts from which fraud could reasonably be inferred.’”).
                                  20   2
                                         It is not enough, however, “to point to facts which might have caused a plaintiff to inquire, or
                                  21   could have led to evidence supporting [the plaintiff’s] claim. Morton's Mkt, 198 F.3d at 832-33.
                                       “A defendant who does this has succeeded in demonstrating only that there is a jury question
                                  22   regarding the tolling of the statute of limitations by fraudulent concealment.” Id.
                                       3
                                  23     Because this is an objective standard, it does not matter whether the plaintiff actually conducted
                                       a diligent inquiry. See Sterlin v. Biomune Sys., 154 F.3d 1191, 1202 n.20 (10th Cir. 1998).
                                  24   Assuming the defendant can show the plaintiff had facts that should have excited its suspicions,
                                       the defendant must also show that a diligent inquiry, had it been performed, would have revealed
                                  25   the facts underlying the plaintiff’s claims. See Morton's Mkt., 198 F.3d at 833; see also In re
                                       Coordinated Pretrial Proceedings in Petroleum Products Antitrust Litig., 782 F. Supp. 487, 493
                                  26
                                       (C.D. Cal. 1991) (“Nor is there constructive knowledge if, even upon investigating, plaintiffs
                                  27   might reasonably be unable to uncover their claims.”).
                                       4
                                        See also Pocahontas Supreme Coal Co. v. Bethlehem Steel Corp., 828 F.2d 211, 218 (4th Cir.
                                  28
                                       1987) (holding no fraudulent concealment where antitrust action alleged interrelationships
                                                                                     9
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                                              B.      The Instant Motions
                                   1
                                                      1.      Hitachi Defendants’ Motion for Summary Judgment Based Upon
                                   2                          Withdrawal and the Statute of Limitations
                                   3          Five of the six Hitachi entities named as Defendants in this case brought the instant

                                   4   motion: Hitachi, Ltd. (“HTL”), Hitachi Displays, Ltd. (“HDP”), Hitachi Asia, Ltd. (“HAS”),

                                   5   Hitachi America, Ltd. (“HAL”) and Hitachi Electronic Devices (USA), Inc. (“HED(US)”)

                                   6   (collectively, the “Hitachi Defendants”). HDP, HAS, HAL, and HED(US) are wholly owned

                                   7   subsidiaries of HTL.

                                   8          The Hitachi Defendants’ motion asks the Court to find as a matter of law (1) that the

                                   9   Hitachi Defendants withdrew from the alleged conspiracy by March 20, 2003 (the point at which

                                  10   the Hitachi Defendants exited the CRT industry), and (2) that the DAPs’ claims are barred by the

                                  11   statute of limitations because they were filed more than four years after the Hitachi Defendants

                                  12   (purportedly) withdrew from the conspiracy. The Hitachi Defendants have since settled, but their
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                                  13   motion is sustained by Defendants LG, Mitsubishi, and Toshiba who filed joinders on the

                                  14   withdrawal issue only. ECF Nos. 3864, 3898, 3011.

                                  15          The DAPs respond that the Hitachi Defendants did not withdraw from the conspiracy

                                  16   because (1) “cessation of manufacturing and sales, without more, does not establish withdrawal,”

                                  17   and (2) “the evidence reflects that Hitachi continued to participate in the CRT conspiracy after

                                  18
                                  19   between defendant companies, and those interrelationships were readily discoverable on
                                       consultation of public mining records); United Klans of America v. McGovern, 621 F.2d 152,
                                  20   154-55 (5th Cir. 1980) (finding constructive knowledge where there was a national press
                                       conference, coverage in two local newspapers, a Senate report, and a letter to president of
                                  21   plaintiff); Dayco Corp. v. Goodyear Tire & Rubber Co., 523 F.2d 389, 394 (6th Cir. 1975)
                                       (finding constructive knowledge there where congressional hearings on same antitrust violations
                                  22
                                       and industry-wide publicity of FTC suit); GO Computer, Inc. v. Microsoft Corp., 508 F.3d 170,
                                  23   178-79 (4th Cir. 2007) (finding constructive knowledge where plaintiff was twice involved in FTC
                                       antitrust investigations for which the plaintiff provided a declaration and where plaintiff wrote a
                                  24   book that reported conversations related to alleged violation); Advanced Micro Devices, Inc. v.
                                       Intel Corp., 1992 U.S. Dist. LEXIS 21529, at *3 (N.D. Cal. July 24, 1992) (finding that statements
                                  25   made by plaintiff’s counsel, internal memoranda, and an internal report demonstrated “an
                                       awareness sufficient to excite inquiry into potential antitrust claims”); Southwire Co. v. J.P.
                                  26
                                       Morgan Chase & Co., 307 F. Supp. 2d 1046, 1062 (W.D. Wis. 2004) (finding constructive
                                  27   knowledge where reports were published that investigation was being launched); Insulate SB, Inc.
                                       v. Advanced Finishing Sys., 2014 WL 943224 (D. Minn. Mar. 11, 2014) (finding constructive
                                  28   knowledge based on FTC action).
                                                                                        10
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                                   1   2003.” Hitachi Opp’n at 12, 15.

                                   2          The motion is GRANTED IN PART and DENIED IN PART. It is granted as to HAS and

                                   3   HAL. It is denied, however, as to HTL, HDP, and HED(US). That portion of the motion relating

                                   4   to the statute of limitations is denied as moot.

                                   5                          a.      Facts
                                   6          It is undisputed that none of the Hitachi Defendants produced or sold CRTs after March

                                   7   2003: HTL manufactured and sold CRTs until 2002; HDP never manufactured or sold CRTs;

                                   8   HAS sold CRTs until 2002; HAL sold CRTs manufactured by HED(US) until April 1998; and

                                   9   HED(US) sold CRTs until March 20, 2003. Furthermore, it is undisputed that the Hitachi

                                  10   Defendants’ decision to sell their CRT business in 2003 was publicly announced, and that their

                                  11   alleged coconspirators were aware of the sale.

                                  12          The sixth Hitachi entity in this case – SEG Hitachi Shenzhen Color Display Devices Co.,
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                                  13   Ltd. (“Hitachi Shenzhen”) – did not join the instant motion but is central to the issues on which the

                                  14   motion turns. Hitachi Shenzhen allegedly joined the conspiracy in 2000 and continued to

                                  15   participate throughout the balance of the conspiracy period. Unlike the Hitachi Defendants,

                                  16   Hitachi Shenzhen was not a wholly owned subsidiary of HTL and does not claim to have exited

                                  17   the CRT industry. HDP, however, owned a 25% interest in Hitachi Shenzhen until November 7,

                                  18   2007. ECF No. 3268-4 at 1. HDP also appointed three members to Hitachi Shenzhen’s seven

                                  19   member board and received production reports from Hitachi Shenzhen on a regular basis. See

                                  20   ECF No 3270-8, Exs. 21-22.

                                  21          The events immediately following the Hitachi Defendants’ exit from the CRT industry are

                                  22   relevant. In April 2003, shortly after the Hitachi Defendants ceased production and sales of CRTs,

                                  23   HED(US) sold its production line for 27- to 32-inch color picture tubes (“CPTs”) – a type of CRT

                                  24   – to Thomson, an alleged coconspirator. ECF No. 3270-5, Ex. 5 (Heiser Depo) at 238:19-239:7.

                                  25   HED(US) retained its production line for 36-inch CPTs, however, and ultimately transferred this

                                  26   line to Hitachi Shenzhen. Id. Prior to the asset sale to Thomson, the Hitachi Defendants and

                                  27   Thomson entered into an agreement “whereby Hitachi would refrain from selling 34[-inch] CPTs

                                  28   to North America.” ECF No 3270-5, Ex. 9. This agreement apparently bound Hitachi Shenzhen
                                                                                          11
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                                   1   as well. See id. After the agreement with Thomson expired, HED(US) began working with

                                   2   Hitachi Shenzhen to develop a strategy for Hitachi Shenzhen to sell 34-inch CPTs into the North

                                   3   American market. See id.; id., Ex. 10.

                                   4           The DAPs provide evidence that HDP employees continued to meet with cartel members

                                   5   after March 2003 to exchange production plans and to discuss CRT market forecasts. See, e.g.,

                                   6   ECF No. 3270-9, Exs. 36 at 96:4-11; 37; 38. There is also evidence that HDP employees provided

                                   7   alleged coconspirator MTPD with production information for Hitachi Shenzhen after March 2003.

                                   8   See, e.g., ECF No. 3270-4, Ex. 38. Finally, there is evidence that Mr. Toniguchi, a HED(US)

                                   9   employee, was “in charge of manufacturing . . . production, [or] engineering” at Hitachi Shenzhen.

                                  10   ECF No. 3270-5, Ex. 5 at 312:23-313:1.

                                  11                          b.     Discussion
                                  12           There is a genuine dispute of material fact as to whether HDP and HED(US) withdrew
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                                  13   from the conspiracy. Defendants do not point to any affirmative action by HDP to withdraw.5

                                  14   Even if the sale of other Hitachi Defendants’ CRT businesses could be imputed to HDP, the sale

                                  15   of a conspiring business does not qualify as an affirmative act of withdrawal if the defendant fails

                                  16   to “sever[] all ties” with the conspiracy and the business through which it participated in the

                                  17   conspiracy. See Morton’s Mkt., 198 F.3d at 839; see also Reisman, 409 F.2d at 793 (holding

                                  18   defendant did not withdraw because he remained a major stockholder); Lothian, 976 F.2d 1264

                                  19   (same); Antar, 53 F.3d at 583 (same). Here, HDP did not sever all ties because it continued to

                                  20

                                  21
                                       5
                                         That HDP never manufactured CRTs is not relevant to whether HDP withdrew, assuming it
                                  22   joined the conspiracy in the first place. In any event, a defendant does not need to produce the
                                       price-fixed good in order to be liable for a conspiracy. See, e.g., United States v. Apple, Inc., 791
                                  23   F.3d 290 (2d Cir. 2015) (finding Apple liable for facilitating a conspiracy among book publishers).
                                       Defendants also try to distinguish Reisman and Antar. They argue the defendants in those cases
                                  24   did not qualify for withdrawal because they did not take affirmative acts. Instead of selling the
                                       business, as here, the Reisman and Antar defendants merely retired. That is a distinction without a
                                  25   difference. The defendants in Reisman and Antar did not effectuate their withdrawal because they
                                       retained an ownership interest and therefore failed to sever all ties. Antar, 53 F.3d at 583;
                                  26   Reisman, 409 F.2d at 793; cf. Morton's Mkt, 198 F.3d at 839. Regardless, other Hitachi
                                       Defendants sold the CRT business, not HDP. As Defendants point out, HDP never manufactured
                                  27   or sold CRTs in the first place. Defendants cannot lament that traditional lines of corporate
                                       separateness have been crossed by the DAPs, see infra note 6, only to blur those same lines when
                                  28   it is convenient.
                                                                                        12
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                                   1   own a 25% interest in a co-conspirator – Hitachi Shenzhen – to whom HED(US) also sold part of

                                   2   its CRT business.6 Further, HDP was not simply a passive investor in Hitachi Shenzhen. See,

                                   3   e.g., ECF No 3270-5, Ex. 9 (stating that HDP would work with Hitachi Shenzhen to sell CRTs

                                   4   into the North American market). HDP exercised some amount of control over Hitachi Shenzhen

                                   5   and had the ability to appoint three of seven members of Hitachi Shenzhen’s board. Finally, even

                                   6   if HDP had affirmatively withdrawn, however, its withdrawal would have been negated by

                                   7   evidence that it continued to exchange competitive information with coconspirators. See Lowell,

                                   8   649 F.2d at 958 (acts taken in furtherance of the conspiracy after the point of withdrawal will

                                   9   negate a withdrawal defense); Bullis, 77 F.3d at 1561-63 (same); see, e.g., ECF No. 3270-9, Exs.

                                  10   36 at 96:4-11; 37; 38.

                                  11            There is also evidence that HED(US) failed to sever ties. For example, HED(US) worked

                                  12   with coconspirator Hitachi Shenzhen to develop a strategy for Hitachi Shenzhen to sell 34-inch
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                                  13   CPTs into the North American market. See ECF No 3270-5, Ex. 10. In addition, there is evidence

                                  14   that an HED(US) employee named Mr. Toniguchi was placed at Hitachi Shenzhen and put “in

                                  15   charge of manufacturing . . . production, [or] engineering.” ECF No. 3270-5, Ex. 5 at 312:23-

                                  16   313:1.

                                  17            On the other hand, it is undisputed that HAS and HAL exited the CRT industry and cut all

                                  18   ties as of March 2003. This is sufficient to make out a prima facie case of withdrawal. See

                                  19   Morton’s Mkt., 198 F.3d at 839; Steele, 685 F.2d at 804 (3d Cir. 1982); Krause, 827 F.2d at 351;

                                  20   Antar, 53 F.3d at 583. The DAPs do not attempt to rebut Defendants’ showing as to HAS and

                                  21
                                       6
                                  22     The Hitachi Defendants argue that HDP’s 25 percent ownership interest in Hitachi Shenzhen is
                                       irrelevant given principles of corporate separateness. Indeed, the Hitachi Defendants cannot be
                                  23   held liable for the acts of Hitachi Shenzhen, a separate corporate entity, absent alter ego liability or
                                       some other legal theory that would allow the DAPs to impute the acts of Hitachi Shenzhen onto
                                  24   the Hitachi Defendants. See U.S. v. Bestfoods, 524 U.S. 51, 68 (1998) (“It is a general principle
                                       of corporate law deeply ingrained in our legal system that a corporation is not liable for the acts of
                                  25   its subsidiaries.”). The question before the Court, however, is whether the Hitachi Defendants
                                       have met the elements of withdrawal as a matter of law, not whether the DAPs can hold the
                                  26   Hitachi Defendants liable for the acts of Hitachi Shenzhen. HDP fails to meet the elements of
                                       withdrawal as a matter of law, in part, because it continued to own a 25 percent stake in a
                                  27   coconspirator. Cf. Morton’s Market, 198 F.3d at 830 (“With the sale of its dairy, [the defendant]
                                       certainly ‘retired’ and totally severed its ties to the milk price-fixing conspiracy.”) (emphasis
                                  28   added).
                                                                                         13
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                                   1   HAL specifically. Instead, without argument or explanation, they treat the Hitachi Defendants as

                                   2   a single entity, referring to them throughout their brief simply as “Hitachi.” Finding no reason to

                                   3   find otherwise, the Court declines to discard traditional notions of corporate separateness and does

                                   4   not treat the Hitachi Defendants as a single entity.

                                   5          The DAPs also argue that the Hitachi Defendants – including, presumably, HAS and HAL

                                   6   – failed to effectuate their withdrawal insofar as their exit from the industry benefited the

                                   7   conspiracy by making the market more concentrated. Exiting an industry does not necessarily

                                   8   make the market more concentrated, though the sale of one’s business to a competitor does. Here,

                                   9   the Hitachi Defendants sold their CRT business to competitors and alleged coconspirators

                                  10   Thomson and Hitachi Shenzhen. The Court recognizes that a sale to a competitor is not

                                  11   necessarily “inconsistent with the object of the conspiracy” insofar as concentrated industries are

                                  12   more prone to collusion. Cf. Gypsum, 438 U.S. at 464-65 (requiring that the affirmative act be
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                                  13   “inconsistent with the object of the conspiracy”). The Court declines, however, to adopt a rule

                                  14   that would effectively prohibit sales to competitors in order to effectuate withdrawal. In many

                                  15   cases, competitors will be a firm’s only potential buyers. Regardless, the authority on this issue is

                                  16   clear that a defendant has withdrawn if it severs all ties to the conspiracy and to the business

                                  17   through which it participated in the conspiracy. See Morton’s Market, 198 F.3d at 839; Steele,

                                  18   685 F.2d at 804; Krause, 827 F.2d at 351. Here, Defendants have met that burden as to HAS and

                                  19   HAL.

                                  20          Whether HTL withdrew as a matter of law is a more difficult question. The DAPs urged

                                  21   the Court at the hearing to find that HTL did not effectuate its withdrawal because it continued to

                                  22   possess an indirect interest in coconspirator Hitachi Shenzhen beyond March 2003. Specifically,

                                  23   HTL wholly owned HDP, which in turn owned 25% of Hitachi Shenzhen. Although HTL’s

                                  24   connection to the conspiracy beyond March 2003 was not as significant as HDP’s or HED(US)’s

                                  25   involvement, HTL failed to cut all ties by retaining an indirect interest in a coconspirator and

                                  26   therefore did not meet the high bar for establishing withdrawal as a matter of law. See Antar, 53

                                  27   F.3d at 583; Reisman, 409 F.2d at 793; see also Eisen, 974 F.2d at 269 (no withdrawal if

                                  28   defendant continues to benefit from the conspiracy). Cf. Morton’s Market, 198 F.3d at 839
                                                                                         14
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                                   1   (cutting all ties to the industry), Steele, 685 F.2d at 804 (same), and Krause, 827 F.2d at 351

                                   2   (same).

                                   3             Accordingly, Defendants’ motion is GRANTED IN PART and DENIED IN PART. It is

                                   4   granted with respect to the withdrawal issue as to HAS and HAL, but it is denied in all other

                                   5   respects.7

                                   6                    2.      Toshiba Defendants’ Motion for Summary Judgment Concerning
                                                                Withdrawal
                                   7

                                   8             The five Toshiba entities in this case brought the instant motion: Toshiba Corporation

                                   9   (“Toshiba Corp.”), Toshiba America, Inc. (“TAI”), Toshiba America Consumer Products, LLC

                                  10   (“TACP”), Toshiba America Information Systems, Inc. (“TAIS”), and Toshiba America

                                  11   Electronic Components, Inc. (“TAEC”) (collectively, the “Toshiba Defendants”).8 Their motion

                                  12   asks the Court to rule as a matter of law that Toshiba Defendants withdrew from the conspiracy by
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                                  13   April 1, 2003, the date on which Toshiba Defendants transferred their CRT business to Matsushita

                                  14   Toshiba Picture Display Co., Ltd. (“MTPD”), a joint venture between Toshiba and alleged

                                  15   coconspirator Matsushita Electric Industrial Co., Ltd. (“Matsushita”). Further, their motion asks

                                  16   the Court to dismiss the DAPs’ claims because the amount of time between Toshiba Defendants’

                                  17   purported withdrawal and the filing of the DAPs’ complaint exceeds the statute of limitations.

                                  18   The Court will deny the motion.

                                  19                            a.     Facts
                                  20             The DAPs present evidence that Toshiba Defendants joined the conspiracy at least as early

                                  21   as 1997 by attending meetings with competitors to discuss price and coordinate supply. The

                                  22   DAPs also present evidence that Toshiba Defendants took steps to conceal their involvement in

                                  23   the conspiracy, including attending secret meetings in hotels, recording information on a

                                  24

                                  25   7
                                         After filing their Reply, Defendants filed objections to evidence submitted in support of the
                                  26   DAPs’ Opposition. ECF Nos. 3449, 4359. Local Rule 7-3(c) states that “[a]ny evidentiary and
                                       procedural objections to the opposition must be contained within the reply brief or memorandum.”
                                  27   The Court strikes Defendants’ objections for failure to comply with the Local Rules.
                                       8
                                         Unlike the Hitachi motion, see supra Section IV.B.1, Toshiba Defendants treat themselves as a
                                  28   single entity for the purposes of this motion.
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                                   1   blackboard instead of committing it to paper, instructing recipients of internal emails to destroy

                                   2   the emails after reading them, and communicating in code in order to avoid detection.

                                   3          On September 26, 2002, Toshiba Corp. and Matsushita publicly announced that they were

                                   4   combining their CRT businesses and forming MTPD, a joint venture owned and controlled by

                                   5   both companies. See ECF No. Ex. A at 1 (issuing a press release stating that Toshiba and

                                   6   Matsushita were “consolidating their cathode ray tube (CRT) business into a single company.”).

                                   7   Toshiba Defendants transferred their relevant CRT operations to MTPD on March 31, 2003, and

                                   8   MTPD commenced operations on April 1, 2003. Toshiba, however, retained rights to certain

                                   9   intellectual property used in the CRT business and licensed those rights to MTPD.

                                  10          Toshiba Corp. owned a 35.5% share of MTPD, appointed four out of ten directors on

                                  11   MTPD’s board, and indirectly exercised veto power over important decisions of the Board as a

                                  12   result of the Joint Venture Agreement’s requirement that there be consent of at least one Toshiba-
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                                  13   appointed director. Toshiba also assisted in preparing MTPD’s Initial Business Plan and secured

                                  14   the right to approve any changes to that plan in future years.

                                  15                          b.     Discussion
                                  16          Toshiba Defendants assert that their exit from the CRT industry on April 1, 2003

                                  17   constitutes withdrawal. Toshiba, however, did not exit the CRT industry; they merely restructured

                                  18   their involvement through a joint venture in partnership with another alleged coconspirator. The

                                  19   joint venture, MTPD, in turn, allegedly joined the conspiracy shortly after its creation. As a result

                                  20   of their shared ownership and control of MTPD with alleged coconspirator Matsushita, not only

                                  21   did Toshiba Defendants retain a significant ownership interest in a conspiring corporation, they

                                  22   continued to actively participate in the CRT industry beyond their purported “exit.” Toshiba

                                  23   Defendants appointed members to MTPD’s board, exercised veto power over important decisions,

                                  24   assisted in developing MTPD’s business plan, and leased intellectual property related to the

                                  25   manufacture of CRTs to MTPD. There is at least a genuine issue of material fact therefore as to

                                  26   whether Toshiba Defendants severed all ties to their CRT business and to the conspiracy. See

                                  27   Antar, 53 F.3d at 583; Reisman, 409 F.2d at 793.

                                  28          Toshiba Defendants attempt to distinguish their case from Reisman and Antar. They note
                                                                                        16
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                                   1   that whereas they sold their businesses, the defendants in Reisman and Antar merely resigned.

                                   2   They contend that the act of selling a business constitutes an affirmative act that the defendants in

                                   3   Reisman and Antar lacked. The Court disagrees. A defendant’s resignation from a conspiring

                                   4   business, like a sale, is sufficient to establish withdrawal only if the defendant severs all ties in the

                                   5   process. See, e.g., Lothian, 976 F.2d at 1264 (holding that the defendant’s resignation effectuated

                                   6   his withdrawal because he did not retain an ownership interest upon his resignation); Lowell, 649

                                   7   F.2d at 955 (“[A]ffirmative action sufficient to show withdrawal as a matter of law from the

                                   8   conspiracy . . . may be demonstrated by the retirement of a coconspirator from the business,

                                   9   severance of all ties to the business, and consequent deprivation to the remaining conspirator

                                  10   group of the services that constituted the retiree’s contribution to the fraud.”). Thus, that the

                                  11   defendants in Reisman and Antar resigned as opposed to selling their business is irrelevant. The

                                  12   question is whether Toshiba Defendants cut off all ties. They did not. In fact, because in addition
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                                  13   to retaining ownership they also shared control of MTPD, Toshiba Defendants’ withdrawal was

                                  14   even more incomplete than that of the defendants in Reisman and Antar.

                                  15           Next, because MTPD was not born a conspirator, Toshiba Defendants argue their

                                  16   withdrawal was complete the moment they created MTPD and sold their CRT business in

                                  17   exchange for MTPD stock. The Court remains unconvinced. Because MTPD allegedly joined the

                                  18   conspiracy almost immediately after its formation, there is an issue of material fact as to whether

                                  19   Toshiba Defendants severed all ties with the conspiracy or whether they merely restructured those

                                  20   ties by manipulating their corporate umbrella. Further, by merely restructuring their CRT business

                                  21   as a joint venture, Toshiba Defendants failed to cut all ties with the business through which it

                                  22   participated in the conspiracy. True, Toshiba Defendants no longer manufactured CRTs

                                  23   themselves, but it can hardly be said that they “severed all ties to the business” in light of their

                                  24   shared ownership and control of MTPD. Morton’s Mkt., 198 F.3d at 839.

                                  25           Toshiba Defendants assert the foregoing analysis violates traditional notions of corporate

                                  26   separateness and holds them liable for the acts of a separate company, MTPD. Indeed, absent a

                                  27   legal theory that would allow the DAPs to impute the acts of MTPD onto Toshiba Defendants,

                                  28   Toshiba Defendants cannot be held liable for the acts of MTPD. But that is not the issue. The
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                                   1   question before the Court is whether Toshiba Defendants have met the high bar for establishing

                                   2   withdrawal as a matter of law. To meet that burden, Toshiba Defendants must show there is no

                                   3   genuine issue of material fact as to whether they severed all ties with the conspiracy and the

                                   4   business through which they participated in the conspiracy. See Morton’s Mkt., 198 F.3d at 839;

                                   5   Steele, 685 F.2d at 804; Krause, 827 F.2d at 351; Antar, 53 F.3d at 583; Reisman, 409 F.2d at 793;

                                   6   Lothian, 976 F.2d at 1264. Because of their ownership and control of MTPD, Toshiba Defendants

                                   7   fail to meet their burden.

                                   8          Separate but related, Toshiba Defendants’ motion as to withdrawal fails for the

                                   9   independent reason that there is a genuine issue of material fact as to whether Toshiba Defendants

                                  10   adequately communicated their purported withdrawal. The DAPs do not dispute that press

                                  11   releases and news coverage are means reasonably calculated to reach Toshiba Defendants’

                                  12   coconspirators; rather, they argue the content of the communications was inadequate. Toshiba and
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                                  13   alleged coconspirator Matsushita publicly announced they were combining their CRT businesses

                                  14   and forming MTPD, a joint venture owned and controlled by both companies. See ECF No. Ex. A

                                  15   at 1 (issuing a press release stating that Toshiba and Matsushita were “consolidating their cathode

                                  16   ray tube (CRT) business into a single company.”). Toshiba Defendants’ coconspirators, however,

                                  17   could have easily interpreted that announcement as a restructuring of Toshiba Defendants’

                                  18   involvement in the CRT industry via a joint venture. That is not the same as announcing a

                                  19   complete exit.

                                  20          Finally, Toshiba Defendants’ motion also fails as to fraudulent concealment. The DAPs

                                  21   provided evidence suggesting that Toshiba Defendants attended secret meetings in hotels,

                                  22   recorded information on a blackboard instead of committing it to paper, instructed recipients of

                                  23   emails to destroy them after reading them, and used codes in correspondence in order to hide the

                                  24   conspiracy. These are the types of affirmative acts that courts have found sufficient to establish

                                  25   fraudulent concealment. See, e.g., Pinney, 838 F.2d at 1472 (holding secret meetings); In re

                                  26   Cathode Ray Tube (CRT) Antitrust Litig., 2014 WL 1091589, at *9 (same); Fed. Pac. Elec. Co.,

                                  27   310 F.2d at 284 n.2 (destroying records and encoding information).

                                  28          Accordingly, Toshiba Defendants’ motion is DENIED.
                                                                                        18
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                                                      3.     Defendant LG Electronics, Inc.’s Motion for Partial Summary
                                   1                         Judgment on Withdrawal Grounds
                                   2          LGE Electronics (“LGE”) brought the instant motion asking the Court to rule that LGE

                                   3   withdrew from the conspiracy as of July 1, 2001, the date on which it transferred its CRT assets to

                                   4   LG. Philips Displays (“LPD”), a joint venture between LGE and alleged coconspirator Philips.

                                   5   Although LPD allegedly continued to participate in the conspiracy, LGE argues that it should not

                                   6   be held liable for those acts according to principles of corporate separateness. Further, LGE

                                   7   argues that its shift from seeking to increase CRT prices as a CRT seller to seeking the lowest

                                   8   price possible as a CRT buyer constitutes an affirmative act inconsistent with the object of the

                                   9   conspiracy such that the Court should grant its withdrawal defense as a matter of law.

                                  10          The DAPs respond that the motion should be denied because, according to the DAPs, (1)

                                  11   LGE did not sever ties from the CRT conspiracy through its formation of LPD; (2) LGE benefited

                                  12   from LPD’s participation in the conspiracy; and (3) LGE never communicated its purported
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                                  13   withdrawal to its coconspirators.

                                  14          The Court will deny the motion.

                                  15                         a.      Facts
                                  16          LGE and Philips allegedly joined the conspiracy around 1995. On July 1, 2001, LGE and

                                  17   Philips formed LPD, a joint venture to which LGE and Philips transferred their CRT businesses.

                                  18   The DAPs allege that LPD joined the conspiracy shortly after its creation and continued its

                                  19   participation until it declared bankruptcy in January 2006.

                                  20          LPD’s formation was widely reported in the media. Further, the undisputed evidence

                                  21   shows that coconspirators were aware that LPD was a joint venture between LGE and Philips to

                                  22   which LGE and Philips transferred their CRT businesses. The announcements and media reports,

                                  23   however, did not state that LGE and Philips were exiting the CRT industry. Instead, they

                                  24   indicated that LGE and Philips were consolidating their CRT businesses.

                                  25          LGE held 50% of LPD’s shares, minus one share, and Philips held the rest. LGE also had

                                  26   the right to appoint three members to LPD’s six-member Supervisory Board, which was

                                  27   responsible for “provid[ing] high-level strategic advice to LPD’s management and aid[ing] LPD in

                                  28   determining business policies and how to implement those policies.” LGE Mot. at 4. Finally, in
                                                                                        19
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                                   1   addition to arranging initial financing, LGE provided LPD with a $125 million capital injection on

                                   2   May 31, 2002 and a $250 million capital injection on June 25, 2004.

                                   3          After transferring its CRT business to LPD, LGE became exclusively a CRT purchaser,

                                   4   buying CRTs for incorporation into its finished products. LGE purchased CRTs from LPD and

                                   5   other suppliers. LGE presents evidence that these purchases were done at arm’s length and that

                                   6   LGE sought the lowest purchase price possible.

                                   7                          b.      Discussion
                                   8          LGE did not sever ties with the CRT industry or its CRT manufacturing business. Instead,

                                   9   it transferred its CRT business to a joint venture that it owned and controlled jointly with another

                                  10   coconspirator. LGE seems to concede that point, see LGE Reply at 6-7, but argues that although

                                  11   “severing all ties . . . is one way to show withdrawal, [it is] not the only way. Id. at 6. LGE

                                  12   quotes from the Third Circuit’s opinion in Antar wherein the court held that “if the defendant has
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                                  13   not completely severed his ties with the enterprise, then in order to establish a prima facie case, he

                                  14   must demonstrate . . . that he did acts inconsistent with the object of the conspiracy.” Antar, 53

                                  15   F.3d at 582. LGE contends that “becoming a CRT purchaser and consistently negotiating for

                                  16   lower CRT prices [was an act] squarely inconsistent with continued support of a CRT price-fixing

                                  17   conspiracy.” LGE Reply at 7.

                                  18          The Court is not convinced. Negotiating the lowest price possible for LGE’s own inputs is

                                  19   entirely unremarkable and does not constitute an “affirmative[] act” or a “definite, decisive, and

                                  20   positive step[].” Lothian, 976 F.2d at 1261; see United States v. Cont’l Grp., Inc., 603 F.2d 444,

                                  21   467 (3d Cir. 1979) (citing United States v. Socony-Vacuum Oil Co., 310 U.S.150, 224 n.59

                                  22   (1940)) (resuming normal competitive behavior is insufficient to establish withdrawal); Plymouth

                                  23   Dealers’ Ass’n of No. Cal. v. United States, 279 F.2d 128, 132 (9th Cir. 1960) (same). Indeed,

                                  24   there is nothing inconsistent with LGE seeking to lower the cost of its own CRT purchases while

                                  25   simultaneously supporting a conspiracy that raised prices for its competitors and increased profits

                                  26   for its joint venture, LPD. At most, LGE’s transition from CRT producer to CRT purchaser

                                  27   suggests it was no longer actively supporting the conspiracy. Cf. Smith, 133 S. Ct. at 720 (holding

                                  28   that mere cessation of activity in furtherance of the conspiracy is insufficient). Because LGE
                                                                                         20
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                                   1   failed to cut all ties with its former CRT manufacturing business, however, more is required. See

                                   2   Antar, 53 F.3d at 583 (“[I]f the defendant has not completely severed his ties with the enterprise,

                                   3   then in order to establish a prima facie case, he must demonstrate . . . that he did acts inconsistent

                                   4   with the object of the conspiracy.”).

                                   5           LGE also contends that the DAPs are seeking to hold LGE “liable for the actions of LPD

                                   6   because [LGE] held a minority ownership interest in the newly formed organization.” LGE Reply

                                   7   at 10. “This theory,” according to LGE, “conflicts with fundamental principles of corporate

                                   8   separateness.” Id. LGE mischaracterizes the issue. The question before the Court is whether

                                   9   LGE took actions sufficient to establish withdraw as a matter of law. Whether it took adequate

                                  10   steps depends on whether it retained stock in a conspiring corporation, see Antar, 53 F.3d at 583;

                                  11   whether it continued to be involved in the CRT industry and its former CRT manufacturing

                                  12   business, see Morton’s Mkt., 198 F.3d at 839; and whether it continued to interact and
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                                  13   communicate with coconspirators in furtherance of the conspiracy, see Lowell, 649 F.2d at 958.

                                  14   LGE’s relationship to LPD is relevant for these reasons, not because the DAPs are trying to hold

                                  15   LGE liable for the acts of LPD.

                                  16           LGE’s motion also fails for the independent reason that there is a genuine dispute of

                                  17   material fact as to whether the announcements regarding the creation of LPD communicated

                                  18   LGE’s exit from the CRT industry or merely that LGE and Philips were consolidating their CRT

                                  19   efforts through a joint venture.

                                  20           Finally, at the end of its Reply, LGE states that “[e]ven if this court finds that LGE did not

                                  21   withdraw from the conspiracy in 2001, at the very latest, the undisputed facts show that it

                                  22   withdrew by January 2006. . . . LPD declared bankruptcy in 2006, at which time LGE’s minority

                                  23   ownership interest cannot be said to have any relevance.” Reply at 12. LGE did not make this

                                  24   argument in their motion; it is not responsive to the DAPs’ Opposition; and it was not raised at the

                                  25   hearing. The Court therefore declines to consider it.

                                  26           The motion is DENIED.9

                                  27
                                       9
                                  28    LG objects to Plaintiffs’ use in its Opposition of a European Commission decision and an
                                       opinion from a Delaware court. LGE Reply at 9 n.7. Those decisions are irrelevant to the issues
                                                                                         21
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                                                      4.      Philips Electronics North America Corporation, Philips Taiwan Ltd.,
                                   1                          and Philips Brasil Ltda.’s Motion for Partial Summary Judgment
                                   2
                                              Koninklijke Philips N.V. (“Royal Philips”), an alleged coconspirator in this case, is the
                                   3
                                       parent company to hundreds of subsidiaries across the world. Some of those subsidiaries are also
                                   4
                                       defendants in this case. Three of those subsidiaries – Philips Electronics North America
                                   5
                                       Corporation (“PENAC”), Philips Taiwan Limited (f/k/a Philips Electronics Industries (Taiwan)
                                   6
                                       Ltd.) (“PTL”), and Philips do Brasil Ltda. (f/k/a Philips da Amazonia Industria Electronica Ltda.)
                                   7
                                       (“PDBL”) (collectively, the “Philips Subsidiaries”) – brought the instant motion. Royal Philips,
                                   8
                                       itself, however, is not a party to the motion.
                                   9
                                              Defendants ask the Court to rule that the Philips Subsidiaries withdrew from the
                                  10
                                       conspiracy as a matter of law after June 2001 when the Philips Subsidiaries transferred their CRT
                                  11
                                       businesses to LG Philips Displays (“LPD”), a joint venture between Philips and alleged
                                  12
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                                       coconspirator LGE. Although Royal Philips continued to be involved in the CRT industry through
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                                  13
                                       its shared ownership and control of LPD, the Philips Subsidiaries argue that they severed all ties to
                                  14
                                       the CRT industry after June 2001 and that Royal Philips’ ongoing involvement should not be
                                  15
                                       imputed onto them given principles of corporate separateness.
                                  16
                                              The DAPs’ respond that the motion should be denied because Royal Philips continued its
                                  17
                                       involvement in the conspiracy through LPD. Further, the DAPs contend that the Philips
                                  18
                                       Subsidiaries did not communicate their alleged withdrawal to their coconspirators. Finally, the
                                  19
                                       DAPs argue that the Philips Subsidiaries continued to benefit from the conspiracy after their
                                  20
                                       purported withdrawal insofar as the Philips conglomerate as a whole benefited.
                                  21
                                              Because the DAPs fail to provide (1) any evidence that Philips Subsidiaries continued their
                                  22
                                       involvement in the CRT industry after June 2001, or (2) a legal theory that would allow them to
                                  23
                                       impute Royal Philips’ alleged involvement in the conspiracy through LPD after June 2001 onto
                                  24
                                       the Phillips Subsidiaries, the Court will grant the motion.
                                  25
                                                              a.      Facts
                                  26
                                  27

                                  28   presented by this motion and the Court did not consider them in making its decision. Accordingly,
                                       Defendants’ objection is overruled as moot.
                                                                                       22
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                                   1           In addition to the facts provided below, the Court incorporates the relevant facts from

                                   2   Section IV.B.3.a, supra, which explain the LPD joint venture between LGE and Philips in detail.

                                   3           Royal Philips is the Netherlands-based parent company of the Philips Group, a

                                   4   multinational business conglomerate. ECF No. 3238-11, Ex. 3 at 1. Its business activities are

                                   5   organized through Product Divisions and Country Organizations, and its legal structure is

                                   6   organized through a large number of directly and indirectly held subsidiaries throughout the

                                   7   world. See id. The two Product Divisions relevant to this case are the Philips Consumer

                                   8   Electronics Division (“PCE”) and the Components Division. PCE was responsible for finished

                                   9   televisions and monitors. A business group within the Components Division called Philips

                                  10   Display Components (“PDC”) was responsible for the production of CRTs.

                                  11           At Royal Philips’ 30(b)(6) deposition, its corporate representative provided a brief

                                  12   overview of the company’s corporate structure. See ECF No. 3238-14, Ex. 7 at 30:1-34:12. As he
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                                  13   explained it, Royal Philips is the top of the Philips Group, with a seat in the Netherlands, governed

                                  14   by the Board of Management. Id. Below the Board of Management are the Product Divisions,

                                  15   comprised of different business groups, which are also directed centrally by Royal Philips from

                                  16   the Netherlands. Id. Philips, however, is a global operation and is active throughout the world

                                  17   through different corporate entities. In North America, for example, Philips is active under

                                  18   PENAC, one of the Philips Subsidiaries that brought the instant motion. Id. Activities like

                                  19   production and manufacturing are under the responsibility of subsidiaries like PENAC. Id. The

                                  20   policies for operating the display components and consumer electronics divisions under PENAC

                                  21   are largely determined, however, by PCE and PDC out of Royal Philips in the Netherlands. Id.

                                  22           The Philips Subsidiaries manufactured and sold CRTs from March 1995 through June

                                  23   2001 and are alleged to have participated in the conspiracy (along with Royal Philips itself)

                                  24   throughout that time. As part of Royal Philips’ joint venture agreement with LGE, all of the CRT

                                  25   operations of the Philips Subsidiaries were transferred to LPD in June 2001. Philips Subsidiaries’

                                  26   divestment was widely reported in the press. LPD, in turn, allegedly joined the conspiracy shortly

                                  27   after its creation.

                                  28           Royal Philips shared ownership and control of LPD with LGE. The DAPs do not present
                                                                                        23
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                                   1   any evidence, however, that Philips Subsidiaries owned or were otherwise involved in LPD’s

                                   2   operations.

                                   3                           b.      Discussion
                                   4            Philips Subsidiaries’ exit from the CRT industry in June 2001 constitutes a prima facie

                                   5   showing of withdrawal. See Lothian, 976 F.2d at 1264; Morton’s Mkt., 198 F.3d at 839; Krause,

                                   6   827 F.2d 346. Their exit was also adequately communicated to coconspirators given the extensive

                                   7   press coverage. See Gypsum, 438 U.S. at 464-65; Morton’s Mkt., 198 F.2d at 839. The DAPs’ do

                                   8   not attempt to rebut this evidence. Instead, they focus on Royal Philips’ continued involvement in

                                   9   the CRT industry through LPD. Although the DAPs assert that “the period following LPD’s

                                  10   formation was marked by tight integration between the entire Philips corporate family and LPD,”

                                  11   Philips Opp’n at 17, they fail to present a legal theory that would allow them to impute Royal

                                  12   Philips’ ongoing involvement in the CRT industry through LPD onto the Philips Subsidiaries. Cf.
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                                  13   Bestfoods, 524 U.S. at 68 (“It is a general principle of corporate law deeply ingrained in our legal

                                  14   system that a corporation is not liable for the acts of its subsidiaries.”); Mobil Oil Corp. v. Linear

                                  15   Films Inc., 718 F. Supp. 260, 273 (D. Del. 1989) (“Courts do disregard the corporate form in some

                                  16   instances where such disregard is necessary to prevent injustice to a person or entity that would be

                                  17   harmed by refusing to impose liability on the basis of the corporate structure. The party seeking to

                                  18   disregard the corporate form bears the burden of showing that there are good reasons for doing

                                  19   so.”).

                                  20            At the hearing, the DAPs argued that PENAC’s decision to purchase most of its CRTs

                                  21   from LPD negated its withdrawal defense because those purchases benefited the conspiracy.

                                  22   Presumably, the DAPs’ theory is that PENAC furthered the conspiracy by providing LDP with a

                                  23   dedicated market. Actions taken subsequent to the point of withdrawal will negate a withdrawal

                                  24   defense if those actions further the conspiracy itself – for example, by concealing the conspiracy

                                  25   from authorities. See Lowell, 649 F.2d at 958. Benefiting a conspirator, however, is not the same

                                  26   as furthering the conspiracy.

                                  27            Because the DAPs fail to provide any evidence that Philips Subsidiaries continued their

                                  28   involvement in the CRT industry after June 2001 or a legal theory that would allow them to
                                                                                         24
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                                   1   impute Royal Philips’ ongoing involvement in the CRT industry through to the Phillips

                                   2   Subsidiaries, the Court GRANTS Defendants’ motion. See Steele, 685 F.2d at 804 (ruling that the

                                   3   defendant had established withdrawal as a matter of law after the evidence showing the defendant

                                   4   had severed his ties with the enterprise went unrebutted by the government).

                                   5
                                                      5.      Motion for Partial Summary Judgment Against Dell and Sharp
                                   6                          Plaintiffs on Statute of Limitations Grounds
                                   7          The instant motion asserts Dell and Sharp had knowledge or constructive knowledge of the

                                   8   facts constituting their claims as of 1998 and 2002, respectively. Because fraudulent concealment

                                   9   cannot continue to toll the statute of limitations once a plaintiff has actual or constructive

                                  10   knowledge of facts giving rise to its claim, Defendants assert that Dell’s and Sharp’s claims

                                  11   relating to conduct occurring before November 27, 2003 – four years after the Direct Purchaser

                                  12   Plaintiff (“DPP”) class action was filed – are time-barred.
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                                  13          The Court will deny the motion.

                                  14                          a.      Dell
                                  15          As the moving party, Defendants have the burden of producing evidence that shows Dell

                                  16   had knowledge or constructive knowledge of the facts underlying their claims prior to November

                                  17   23, 2007. See Nissan Fire & Marine Ins., 210 F.3d at 1102. The burden then shifts to Dell to

                                  18   produce admissible evidence to show a genuine issue of material fact as to its knowledge or

                                  19   constructive knowledge. See id. at 1102-1103.

                                  20          Defendants’ evidence consists mainly of internal Dell emails discussing possible collusion

                                  21   in the CRT market:

                                  22             In 1998, Sue Lee, a member of Dell’s World Wide Procurement group, reported to
                                                  sixteen other members of the procurement group that “Japanese CDT suppliers had
                                  23              discussion among themselves of raising 17” CDT pricing” and that “Korean and
                                                  Taiwanese CDT supplier[s] would be glad to ‘follow’ if the raise worked.” ECF No.
                                  24              3067-19, Ex. 17. Later, Ms. Lee wrote that “Japanese CDT supplier – led by Hitachi
                                  25              was secretly working on to raise 17” CDT price . . . .”. ECF No. 3067-23, Ex 21.
                                                 In 1999, an internal Dell email written by Dell employee Angela Ford states that Dell
                                  26              suspected there was collusion among CRT suppliers to control the output of CRT
                                  27              products. ECF No. 3067-10, Ex. 8 at DELL-LCD00000675.
                                                 That same month, members of the procurement team had a meeting to discuss Dell’s
                                  28              strategy to combat price increases. Subsequently, an email was sent summarizing the
                                                                                       25
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                                                  discussion. The summary stated that “[t]he CRT Cartel has come back that they are
                                   1              not, in fact, raising their prices – they will probably try again in Q2 . . . The Newspaper
                                   2              reports that the Cartel failed to increase pricing (1/17 - China Economic News?).” ECF
                                                  No 3067-14, Ex. 12.
                                   3             In January 2002, Dell’s procurement team learned information that it believed showed
                                   4              that “CRT suppliers are banding together to raise their cost.” ECF No. 3067-12, Ex.
                                                  10.
                                   5
                                                 In January 2002, in a weekly report to the procurement group, a Dell employee wrote
                                   6              that the “cartel like big three suppliers did advice [sic] the monitor suppliers of price
                                                  increase on the CDT . . . They agree setting target for example the 17” tube at $58, any
                                   7              supplier who currently sells under it should raise price to reach that level.” ECF No.
                                                  3067-16, Ex. 14.
                                   8
                                                 A few weeks later, Dell employee Eric Korman wrote an email to Dell employee Julie
                                   9              Newmiller proposing a meeting to “discuss the CDT industry’s cooperative pricing
                                                  association.” ECF No. 3067-24, Ex. 22.
                                  10
                                                 In a February email from Eric Korman among procurement group members, a senior
                                  11              manager wrote, “The other question I had was if we invited CPT – we are going to
                                                  need their support on 15” LCD panels and they are trying to play ball with the CRT
                                  12              pricing cartel.” ECF No. 3067-22, Ex. 20.
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                                  13             In a March 2002 email, Eric Korman wrote that “the CRT consortium is holding
                                                  together well regarding pricing” and that “the CRT consortium is difficult to manage at
                                  14              this point.” ECF No. 3067-21, Ex. 19.
                                  15             In a February 2003 email, Dell employees and managers discussed how “CRT
                                                  inventory is building” and how it was an opportunity to “do a little cartel breaking.”
                                  16
                                                  ECF No. 3067-20, Ex. 18.
                                  17
                                              These emails, taken on their own, suggest Dell’s “suspicions” regarding the existence of a
                                  18
                                       CRT price-fixing conspiracy were “excited.” See Conmar, 858 F.2d at 504. The burden therefore
                                  19
                                       shifts to Dell to produce admissible evidence to show a genuine issue of material fact. See Nissan
                                  20
                                       Fire & Marine Ins., 210 F.3d at 1102-1103. In response, Dell submits the deposition testimony of
                                  21
                                       various Dell employees who testified that Dell did not, in fact, have suspicions of a conspiracy.
                                  22
                                       See, e.g., ECF No. 3230-40, Ex. 36 (Deposition of Julie French)10 158:4-159:2 (had no knowledge
                                  23
                                       or suspicions about CRT makers colluding); id. at 92:10-93:23 (“We would have never expected
                                  24
                                       [CRT suppliers] to be talking to their competitors about pricing. So it would not have entered our
                                  25
                                       minds to ask them to tell us if they’re talking to their competitors about pricing.”); id. at 156:9-
                                  26
                                  27
                                       10
                                        Julie French was the global commodity manager for CRT monitors and senior manager for CRT
                                  28   monitor procurement.
                                                                                         26
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                                   1   157:7 (“We had no reason to suspect this . . . And I guarantee you if I had an inkling that it was

                                   2   real or my team, who is very ethical as well, had an inkling that it was real, something would have

                                   3   been done.”); ECF No. 3230-32, Ex. 28 (Deposition of Gerry Smith (“Smith Depo”)) at 156:6-19,

                                   4   270:15-272:25 (he was not aware of any companies fixing prices of CRT tubes or CRT monitors

                                   5   and did not have suspicions of price fixing); ECF No. 3230-33, Ex 29 (Deposition of Angela Ford)

                                   6   at 146:9-147:11 (“I did not suspect that they were discussing pricing . . . I didn’t believe they were

                                   7   talking to raise prices.”); id. at 179:8-9 (“I didn’t think the CRT makers or the tube makers were

                                   8   meeting to set prices.”); ECF No. 3230-34, Ex. 30 (Deposition of Glen Neland) at 249:19-25 (he

                                   9   did not recall anyone at Dell reporting to him suspicions of cartel activity with respect to CRTs or

                                  10   CRT monitors); ECF No. 3230-35, Ex. 31 (Deposition of Mac Stringfellow) at 91:14-92:22 (never

                                  11   heard from anyone at Dell that the companies that were supplying CRTs were colluding on

                                  12   price); id. at 155:15-16 (“I had no suspicions that there was collusion.”); ECF No. 3230-36, Ex. 32
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                                  13   (Deposition of Jon Melnick) at 259:7-260:13 (no suspicions that CRT tube manufacturers were

                                  14   discussing price and that he did not recall any rumors of others discussing such suspicions); ECF

                                  15   No. 3230-37, Ex. 33 (Deposition of Dennis Selman) at 177:1-178:23 (did not recall having

                                  16   suspicions about CRT collusion or price-fixing); ECF No. 3230-38, Ex. 34 (Deposition of Shutuan

                                  17   Lillie (“Lillie Depo”)) at 250:3-21 (never suspected CRT tube suppliers or monitor suppliers were

                                  18   fixing prices and did not hear of such suspicions from anyone else at Dell); ECF No. 3230-39, Ex.

                                  19   35 (Deposition of Ricky Ratley) at 150:1-12 (did not recall hearing any rumors or suspicions with

                                  20   respect to CRT tubes or monitor makers); ECF No. 3230-31, Ex. 27 (Deposition of Martin Garvin

                                  21   (“Garvin Depo.”)) at 105:13-17 (did not recall whether he suspected there was a CRT cartel).

                                  22          Dell employees also testified that the word “cartel” was used loosely in company

                                  23   communications to refer to the fact that the CRT market was heavily concentrated or

                                  24   oligopolistic. See, e.g., Smith Depo. at 121:18-122:1, 126:23-127:2 (“A lot of people at Dell use

                                  25   the term ‘cartel’ in a broad sense, meaning you only have a couple suppliers in an industry space,

                                  26   which made it more difficult . . . from a procurement perspective.”); Ratley Depo. at 142:4-143:3

                                  27   (“My definition of cartel was more or less a market or industry, in a market or industry that linked

                                  28   companies together by product or technology, perhaps even business.”); Lillie Depo. at 121:1-16,
                                                                                        27
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                                   1   125:6-8; 126:1-21.

                                   2          Finally, when asked about emails in which he referred to “cartel breaking,” Dell’s Chief

                                   3   Procurement Officer, Martin Garvin, explained that the statement referred to LCD suppliers and

                                   4   that “cartel breaking” was a ”metaphor” to see if “there might be an opportunity to get some lower

                                   5   pricing” and that reference to “cartel breaking” was “generically referring to panel providers.”

                                   6   Garvin Depo. at 118:14-121:7; see also In re TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-

                                   7   1827 SI, 2012 WL 6000154, at *1 (N.D. Cal. Nov. 30, 2012) (“[A]cording to Dell, the evidence

                                   8   shows that employees used the term ‘cartel’ loosely to refer to the fact that a heavy concentration

                                   9   of LCD business resided with a handful of companies.”).

                                  10          Defendants reply that Dell must have had knowledge of the conspiracy given the strength

                                  11   and credibility of their documentary evidence relative to the deposition testimony submitted by

                                  12   Dell. “In considering a motion for summary judgment,” however, the Court “may not weigh the
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                                  13   evidence or make credibility determinations, and is required to draw all inferences in a light most

                                  14   favorable to the non-moving party.” Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997). As to

                                  15   Dell’s purported constructive knowledge, Defendants neither point to specific facts that should

                                  16   have excited Dell’s suspicions of which Dell was irrefutably aware, nor show that Dell would have

                                  17   discovered the facts underlying its claims had it been reasonably diligent in investigating those

                                  18   suspicions. See Conmar, 858 F.2d at 504; Mt. Hood Stages, 555 F.2d at 698; Morton’s Mkt, 198

                                  19   F.3d at 832-33; In re Petroleum Products, 782 F. Supp. at 493. The Court therefore finds that

                                  20   there is a genuine issue of material fact as to Dell’s actual and constructive knowledge. See also

                                  21   In re TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, 2012 WL 6000154, at *2 (N.D.

                                  22   Cal. Nov. 30, 2012) (finding on a similar motion with similar facts that “[w]hile defendants have

                                  23   submitted powerful evidence suggesting that Dell knew about defendants’ alleged price-fixing

                                  24   activities prior to December 2002, the Court concludes that summary judgment is not appropriate

                                  25   because the parties submitted conflicting evidence regarding what Dell employees knew and when

                                  26   they knew it.”).

                                  27          Accordingly, Defendants’ motion as to Dell is DENIED.

                                  28                          b.     Sharp
                                                                                        28
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                                   1          As with Dell, Defendants have the initial burden of producing evidence to show that Sharp

                                   2   had knowledge or constructive knowledge of the facts underlying its claims prior to November 23,

                                   3   2007. See Nissan Fire & Marine Ins., 210 F.3d at 1102. Defendants have failed to meet this

                                   4   burden.

                                   5          Defendants first point to a June 2002 report regarding CRT pricing trends. The report is 15

                                   6   pages pertaining to over a dozen companies. One line in the report states, “There is a possibility

                                   7   that Samsung and LGPD are conspiring.” ECF No. 3067-4, Ex. 2 at SHARP-CRT-00212458

                                   8   (emphasis added). Merely suspecting that certain Defendants were possibly conspiring, however,

                                   9   is not enough to establish constructive knowledge as a matter of law. See Mt. Hood Stages, 555

                                  10   F.2d at 698; see also F. Buddie Contracting, 595 F. Supp. at 431 (“[W]here a plaintiff remains

                                  11   ignorant of at least some of the facts required to make out his claim, the plaintiff does not have

                                  12   knowledge of its claim.”). Further, when asked about the document at deposition, the head of
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                                  13   procurement at SEMA – one of the Sharp plaintiffs – testified that the language would not have

                                  14   caused him to believe that Samsung and LGPD were conspiring because he believed the prices

                                  15   were improperly characterized in the report. See ECF No. 3283-2, Ex. A (Nakanishi Deposition)

                                  16   at 144:24-146:2; 355:22-356:1; 356:3-14. Thus, even if Defendants had satisfied their burden,

                                  17   there would still be a fact issue as to Sharp’s knowledge.

                                  18          Defendants next point to a report that was received by Sharp from CRT manufactures in

                                  19   2002 providing CRT production estimates for 2003. Defendants note that Sharp is using the same

                                  20   document as an example of a meeting or communication among competitors in the CRT industry.

                                  21   Defendants conclude that “[i]f, as Sharp contends, a CRT supplier’s possession of such

                                  22   information evidences improper communications between competitors in violation of the Sherman

                                  23   Act, then Sharp has known about such communications, and thus the basis for its claims, since at

                                  24   least 2002.” Dell/Sharp Mot. at 23. Not so. Just because the 2002 report is potentially probative

                                  25   of a conspiracy does not mean that it is sufficient to establish, as a matter of law, that Sharp had

                                  26   knowledge of the conspiracy or was put on notice of its claims. In order to establish constructive

                                  27   knowledge as a matter of law, the plaintiff must have been aware of “facts from which fraud could

                                  28   reasonably be inferred,” Mt. Hood Stages, 555 F.2d at 698, such that its “suspicions have been or
                                                                                         29
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                                   1   should have been excited, Conmar 858 F.2d at 504. A report providing CRT production estimates

                                   2   does not come close. See also Morton’s Mkt, 198 F.3d at 832-33 (holding it is not enough “to

                                   3   point to facts which might have caused a plaintiff to inquire, or could have led to evidence

                                   4   supporting [the plaintiff’s] claim . . . A defendant who does this has succeeded in demonstrating

                                   5   only that there is a jury question regarding the tolling of the statute of limitations by fraudulent

                                   6   concealment”). Further, even if the report had raised Sharp’s suspicions, Defendants do not show

                                   7   that a diligent inquiry, had it been performed, would have revealed the facts underlying the

                                   8   Sharp’s claims. See id., Morton’s Mkt., 198 F.3d at 833; see also In re Petroleum Products, 782 F.

                                   9   Supp. at 493 (“Nor is there constructive knowledge if, even upon investigating, plaintiffs might

                                  10   reasonably be unable to uncover their claims.”).

                                  11            Defendants motion as to Sharp is therefore DENIED.11

                                  12   V.       CONCLUSION
Northern District of California
 United States District Court




                                  13            The Court rules as follows:

                                  14
                                                                         Motion                                               Ruling
                                  15
                                       Hitachi Defendants’ Motion for Summary Judgment Based Upon                      Granted in part,
                                  16   Withdrawal and the Statute of Limitations                                       denied in part
                                  17   Toshiba Defendants’ Motion for Summary Judgment Concerning                      Denied
                                  18   Withdrawal

                                  19   Defendant LG Electronics, Inc.’s Motion for Partial Summary Judgment            Denied
                                       on Withdrawal Grounds
                                  20
                                       Philips Electronics North America Corporation, Philips Taiwan Ltd., and         Granted
                                  21   Philips Brasil Ltda.’s Motion for Partial Summary Judgment
                                  22
                                       Motion for Partial Summary Judgment Against Dell and Sharp Plaintiffs           Denied
                                  23   on Statute of Limitations Grounds

                                  24   ///
                                  25   ///
                                  26   ///
                                  27
                                       11
                                  28        Sharp’s Objection to Reply Evidence, ECF No. 3503, is overruled as moot.
                                                                                          30
                                        Case 3:07-cv-05944-JST Document 4786 Filed 08/22/16 Page 31 of 31




                                   1                                  Motion                                        Ruling

                                   2   Motion for Partial Summary Judgment Against Dell and Sharp Plaintiffs   Denied
                                       on Statute of Limitations Grounds
                                   3

                                   4          IT IS SO ORDERED.

                                   5   Dated: August 22, 2016

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                                                                                    ______________________________________
                                   7                                                              JON S. TIGAR
                                                                                            United States District Judge
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                                  12
Northern District of California
 United States District Court




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